                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA,           )
                                    )                 DOCKET NO: 3:15-CR-212-6-MOC-DSC
     V.                             )
                                    )                 ORDER
                                    )
CHRIS JERILEE ARTAVIA-MASIS         )
___________________________________ )

       This matter is before the Court on its own Motion to administratively close the case as to

Chris Jerilee Artavia-Masis. The defendant appears to remain a fugitive with no activity

taking place in this case in recent times.

       It is, therefore, ORDERED that this case be deemed closed for administrative purposes

only, subject to re-opening upon the apprehension or appearance of the defendant.



                                             Signed: October 20, 2020




      Case 3:15-cr-00212-MOC-DSC Document 87 Filed 10/20/20 Page 1 of 1
